











COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





ANGELO DE LEON,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.


THE STATE OF TEXAS,
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

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No. 08-08-00248-CR

Appeal from the

243rd District Court

of El Paso County, Texas 

(TC# 20060D05677)





O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Angelo De Leon was convicted of attempted sexual assault.  He pled guilty to the
indictment, and the court sentenced him to 3 years’ imprisonment.  He complains on appeal that
the court failed to give him credit for the time period he spent in custody in Ector County from
either February 29, 2008 or March 11, 2008, until his sentencing date.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In December 2006, Appellant was indicted in El Paso County on one count of attempted
sexual assault.  While on bond in October 2007, Appellant was arrested and detained in Odessa,
Texas for failure to register as a sex offender and possession of drug paraphernalia.  In February
2008, Merrill Bail Bonds, the surety, filed an Affidavit of Surrender with the El Paso County
Sheriff Department.  After Merrill Bail Bonds surrendered Appellant, the trial court ordered an
issuance of alias capias for his arrest in March 2008; however, the capias was not filed until
June 2008.  In early June 2008, the trial court issued a bench warrant directed to the Texas
Department of Criminal Justice-Institutional Division requesting Appellant’s return to El Paso,
Texas, for trial.  Appellant was booked on the bench warrant in late June 2008.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In July 2008, Appellant pled guilty to the indictment, and the court sentenced him to three
years’ imprisonment.  The court granted Appellant a time credit of forty-eight days for the
following periods:  (1) August 21, 2006 to August 25, 2006 for time on the attempt to commit
sexual assault; and (2) June 19, 2008 to July 31, 2008, the time between El Paso County’s
issuance of the bench warrant and the entrance of his guilty plea.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s sole issue challenges the trial court’s judgment on the basis that the court
misapplied Article 42.03, sec. 2(a)(1) of the Texas Code of Criminal Procedure, because the
court failed to give him credit for the time period he spent in custody in Ector County from either
February 29, 2008 or March 11, 2008, until his sentencing date.  He argues that the court should
give him credit from the February date because that is when the surety on the appearance bond
notified the court and the sheriff of Appellant’s custody in Ector County.  He argues that the
court should give him credit from the March date because that is when the trial court issued an
alias capias, which should have notified the court of his custody in Ector County.  Appellant also
cites to the Court of Criminal Appeals’ decision of Ex parte Rodriguez and argues that it
“[recognized] the existence of a detainer ‘is but one means of establishing incarceration in a
particular cause, and no formal detainer is required if it is established by some other means that
the prisoner was detained in that cause.’”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At the time of trial, Article 42.03, Section 2(a) provided that “[i]n all criminal cases the
judge of the court in which the defendant was convicted shall give the defendant credit on his
sentence for the time that [he] has spent in jail in said cause, other than confinement served as a
condition of community supervision, from the time of his arrest and confinement until his
sentence by the trial court.”  Tex.Code Crim.Proc.Ann. art. 42.03, § 2(a)(Vernon 2006).


  In Ex
Parte Alvarez, the Court of Criminal Appeals held that the time spent by the petitioner in a Harris
County jail for an offense in that county was not time spent in jail “in said cause” with respect to
his conviction in Nueces County because the “[c]redit for jail time against the Nueces County
conviction depends entirely upon petitioner being in jail in That cause.”  Ex parte Alvarez, 519
S.W.2d 440, 443 (Tex.Crim.App. 1975).  Therefore, the Court ruled that the petitioner was not
entitled to jail time credit against his conviction in Nueces County.  Id.  When an individual is
confined in a particular jurisdiction either physically or constructively by another jurisdiction, he
is confined on “said cause” only if the first jurisdiction has lodged a detainer or hold against him. 
Ex parte Bynum, 772 S.W.2d 113, 114 (Tex.Crim.App. 1989)(op. on reh’g).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A defendant may be entitled to time credit based on either actual or constructive custody. 
Ex parte Hudson, 655 S.W.2d 206, 208 (Tex.Crim.App. 1983).  The defendant “must establish
that a detainer or hold was actually lodged” with another jurisdiction, and the detainer or hold
must be available in the record for our examination, in order for him to receive credit for time
served in the other jurisdiction.  See Fernandez v. State, 775 S.W.2d 787, 789 (Tex.App.--San
Antonio 1989, no writ); Ex parte Bynum, 772 S.W.2d at 114-15; Vega v. State, 675 S.W.2d 551,
554 (Tex.App.--Houston [14th Dist.] 1984, no writ).  Time credit is allowed under a detainer
because the hold results in a “change in the basis for (a detainee’s) confinement.”  Ex parte
Bynum, 772 S.W.2d at 115.  In such cases, it is not whether the individual is currently serving a
term in a penal institution that determines if credit should be given, but whether another
jurisdiction has chosen to lodge a hold against the individual.  Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Rodriguez, the writ record did not show that the defendant was held in Mexico on a
detainer in the cause, but a Texas Department of Criminal Justice-Institutional Division
(“TDCJ”) official’s affidavit in the record did show that no such detainer was issued.  Ex Parte
Rodriguez, 195 S.W.3d 700, 703 (Tex.Crim.App. 2006).  Although there was no formal detainer,
the Court held that a letter from the U.S. Department of Justice to the TDCJ informing them that
Mexican authorities apprehended the defendant following a provisional arrest request established
the detention.  Id at 702.  This in turn entitled him to 450 days of jail time credit for the time he
was incarcerated in Mexico awaiting his extradition to Texas.  Id. at 704.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In the present case, Appellant was detained in Ector County after he was arrested and
convicted for failure to register as a sex offender and possession of drug paraphernalia.  His
indictment in El Paso County, on the other hand, was for one count of attempt to commit sexual
assault.  Because the time Appellant spent in Ector County was not related to his conviction in
El&nbsp;Paso County, the time he spent in Ector County was not time spent “in said cause.”  See Ex
parte Alvarez, 519 S.W.2d at 443.  Also, because the record fails to show any evidence of a hold
or detainer, Appellant was not confined on “said cause.”  See Ex parte Bynum, 772 S.W.2d at
114-15; Fernandez, 775 S.W.2d at 789; Vega, 675 S.W.2d at 554.  None of the documents in the
record are similar to the detainer letter from the U.S. Department of Justice in Rodriguez;
Rodriguez simply does not support Appellant’s argument that he should be entitled to the time he
spent in Ector County.  See Ex parte Rodriguez, 195 S.W.3d at 703.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Further, the State’s alleged knowledge of Appellant’s detention in Ector County does not
result in a change in the basis for Appellant’s confinement, and there is no constructive custody
in this case.  See Ex parte Bynum, 772 S.W.2d at 115.  The State did not obtain constructive
custody of Appellant until June 19, 2008, when Appellant was booked on the bench warrant in
El&nbsp;Paso County.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, the trial court correctly calculated the time credit to Appellant.  Issue One is
overruled and we affirm the trial court’s judgment.


October 20, 2010
DAVID WELLINGTON CHEW, Chief Justice

Before Chew, C.J., McClure, J., and Antcliff, Judge
Antcliff, Judge (Sitting by Assignment)

(Do Not Publish)


